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                                       SIDLEY AUSTIN LLP
                                       ONE SOUTH DEARBORN STREET
                                       CHICAGO, IL 60603
                                       +1 312 853 7000
                                       +1 312 853 7036 FAX


                                                                                                                     GKELLY@SIDLEY.COM
                                       AMERICA • ASIA PACIFIC • EUROPE                                               +1 312 853 2068




                                                          December 12, 2018


VIA ECF

The Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 415
New York, NY 10007

       Re:     Great Western Ins. Co. v. Mark Graham, et al., Case No. 18-06249 (VSB)

Dear Judge Broderick:

        I write on behalf of Great Western Insurance Company (“Great Western”) to respectfully
request that the Court, pursuant to Federal Rule of Civil Procedure 15(a)(2), grant Great Western
leave to file a Second Amended Complaint, attached hereto as Exhibit A (without exhibits).
Attached hereto as Exhibit B is a comparison of the proposed Second Amended Complaint to the
First Amended Complaint (Doc. 69).

        On July 10, 2018, Great Western filed its original Complaint (Doc. 5). Pursuant to the
Court’s October 3, 2018 Order (Doc. 66), and without objection by any defendant, on October 5,
2018, Great Western filed its First Amended Complaint. The only change from the Complaint to
the First Amended Complaint was one small addition to make explicit that Great Western is
asserting that the Court has diversity jurisdiction over this matter pursuant to 28 U.S.C. § 1332 to
eliminate any unnecessary briefing. As such, the proposed Second Amended Complaint would
be the first substantial amendment to Great Western’s pleadings.

        Although Great Western believes it has sufficiently pled facts to maintain all of its claims
as set forth in its First Amended Complaint, Great Western has recently learned of additional
facts regarding, inter alia, the fraud and missing funds that are central to this matter. With an
eye towards judicial economy and efficiency, Great Western now seeks leave to file a Second
Amended Complaint.

       Under Federal Rule of Civil Procedure 15, the Court “should freely give leave” to amend
pleadings “when justice so requires.” Fed. R. Civ. P. 15(a)(2). The Second Circuit has
recognized that leave to amend should be “liberally granted,” Samad Bros., Inc. v. Bokara Rug
Co. Inc., No. 09 CIV. 5843 JFK KNF, 2010 WL 4457196, at * 2 (S.D.N.Y. Oct. 18, 2010)

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(citing Ruotolo v. City of New York, 514 F.3d 184, 191 (2d Cir. 2008)), and that leave may be
denied only where there is undue delay, bad faith, undue prejudice to the opposing party, or if
amendment would be futile. RSM Prod. Corp. v. Fridman, No. 06-11512, 2008 WL 474144, at
*3 (S.D.N.Y. Feb. 19, 2008) (citing Richardson Greenshields Sec., Inc. v. Lau, 825 F.2d 647,
653 n. 6 (2d Cir. 1987)).

        Great Western has not sought leave to file its proposed Second Amended Complaint for
any improper purpose, nor will the requested amendment prejudice defendants or cause undue
delay, as this litigation is only in the initial stages. Currently, the parties are in the process of
briefing motions to dismiss, and the proposed Second Amended Complaint in fact addresses
certain arguments raised by some of the defendants in those motions.

       Accordingly, Great Western respectfully requests that it be granted leave to file its
proposed Second Amended Complaint.

                                                   Respectfully submitted,



                                                   /s/ Gerard D. Kelly
                                                   Gerard D. Kelly
                                                   (admitted pro hac vice)


Enclosure

cc:    Counsel of Record (via ECF)
